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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

FAIR FIGHT ACTION, INC, et ai.,

Plaintiffs,

BRAD RAEFENSPERGER..2fah, Civ. Act. No. 18-cv-5391 (SCI)

Defendants.

PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION

PLEASE TAKE NOTICE that Plaintiffs FAIR FIGHT ACTION, INC.,

CARE IN ACTION, INC., EBENEZER BAPTIST CHURCH OF ATLANTA,
GEORGIA, INC., BACONTON MISSIONARY BAPTIST CHURCH, INC.,
VIRGINIA-HIGHLAND CHURCH, INC., and THE SIXTH EPISCOPAL
DISTRICT, INC., hereby move for a Temporary Restraining Order and Preliminary

Injunction enjoining Defendant Brad Raffensperger, in his capacity as Georgia
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Secretary of State, from purging 120,561 voters from Georgia’s rolls on the basis of
fewer than nine years of inactivity.

As set forth in the Plaintiffs’ Memorandum of Law in Support of Motion for
a Temporary Restraining Order and Preliminary Injunction and the accompanying
exhibits filed herewith, Plaintiffs have established a likelihood of success on the
merits; that Plaintiffs will suffer irreparable harm if the Court does not issue the
preliminary relief sought; that the harm to Plaintiffs outweighs any harm Defendants
would suffer if the Court were to order the preliminary relief the Plaintiffs seek; that
the balance of hardships tips strongly in the Plaintiffs’ favor; and that a Temporary
Restraining Order and Preliminary Injunction in this case advance the public interest.
On December 16, 2019, Plaintiffs gave notice by telephone and email that they
would ask the Court to hear today their Motion for a Temporary Restraining Order
and Preliminary Injunction and Memorandum.

Plaintiffs respectfully request that the Court hear the motion today due to the
planned December 16, 2019 voter purge by Defendants, which would remove tens

of thousands of Georgia residents from Georgia’s voter rolls.
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Plaintiffs further request that this Court set this matter for a hearing on its
motion for preliminary injunction on expedited basis and with the opportunity for

the parties to submit additional evidence and briefing as appropriate.
Respectfully submitted,

December 16, 2019 /s/Leslie J. Bryan
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CERTIFICATE OF SERVICE

I hereby certify that, on December 16, 2019, I caused to be served the

foregoing MOTION FOR A TEMPORARY RESTRAINING ORDER AND

PRELIMINARY INJUNCTION by filing it through the Court’s ECF system

which will cause service on opposing counsel as follows:

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This the 16th day of December, 2019.

/s/ Leslie J. Bryan
Leslie J. Bryan

